 Case 18-12417-elf                 Doc 14        Filed 06/21/18 Entered 06/21/18 14:50:05                               Desc Main
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